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             Exhibit A
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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA




    In re:
                                                                   Chapter 11
    Stream TV Networks, Inc., 1
                                                                   Bky. No. 23-10763 (MDC)
              Debtor.


    In re:                                                         Chapter 11

    Technovative Media, Inc.,                                      Bky. No. 23-10764 (MDC)

           Debtor.                                                 (Jointly Administered)
    STREAM TV NETWORKS, INC. and
    TECHNOVATIVE MEDIA, INC.,

                  Debtors,
    v.
                                                                   Adv. No. 23-00057
    SHADRON L. STASTNEY, SLS HOLDINGS
    VI, LLC, HAWK INVESTMENT HOLDINGS
    LIMITED, ARTHUR LEONARD ROBERT
    "BOB" MORTON, SEECUBIC, INC.,
    ALASTAIR CRAWFORD, KRZYSZTOF
    KABACINSKI, KEVIN GOLLOP, ASAF
    GOLA, JOHN DOE(S), JANE DOE(S),
    DELAWARE and OTHER LAW FIRMS
    representing and acting in concert with John
    Doe(s) and/or Jane Doe(s), INVESTMENT
    BANKS employed by John Doe(s) and/or Jane
    Doe(s), PATRIC THEUNE, and SEECUBIC
    B.V.,

                  Defendants.




1
 The Debtors, together with the last four digits of the Debtors' federal tax identification numbers, are Stream TV
Networks, Inc. (…4092) and Technovative Media, Inc. (…5015). The location of the Debtors' service address is:
2009 Chestnut Street, 3rd Floor, Philadelphia, PA 19103.
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               CASE MANAGEMENT PLAN AND SCHEDULING ORDER
       MAGDELINE D. COLEMAN, Chief United States Bankruptcy Judge:

       This Civil Case Management Plan and Scheduling Order is submitted by the parties in

accordance with Federal Rule of Bankruptcy Procedure 7026 and Federal Rule of Civil Procedure

26(f)(3):

1.     This Case Management Plan and Scheduling Order shall apply in the above-captioned
adversary proceeding.
       a.     The term “Complaint” as used herein shall mean the complaint filed in the above-
       captioned adversary proceeding.
       b.      The term “Defendants” as used herein shall mean those defendants in the above-
       captioned adversary proceeding whom have been served and have entered an appearance.
       For the avoidance of doubt, as of the date of filing this Case Management Plan and
       Scheduling Order the only defendants whom have been served and whom have entered
       an appearance are SeeCubic, SLS, Stastney, and Hawk.


2.     Defendants shall have until November 15, 2023 to answer, move against, or otherwise
respond to the Complaint. The discovery planning conference described in Fed. R. Civ. P. 26(f),
made applicable by Fed. R. Bankr. P. 7026, has been deemed to have occurred.


3.    The schedule for the briefing of Defendants’ motions to dismiss the Complaint (the
“Motions to Dismiss”) shall be as follows:
       a.      Moving briefs due November 15, 2023;
       b.      Oppositions due December 6, 2023; and
       c.      Replies due December 20, 2023.


4.      The following discovery and pretrial schedule shall apply absent further agreement of the
Parties or order of the Court. In the event that any of the dates specified below falls on a
weekend, the applicable deadline shall be the next business day.
       a.     Initial Disclosures. Each party shall serve its initial disclosures required by Rule
       26(a)(1) (BR 7026) no later than two weeks after a ruling on the Motions to Dismiss.
       b.      Fact Discovery.




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          i.     The parties may serve document requests pursuant to Rule 34 (BR 7034),
                 interrogatories pursuant to Rule 33 (BR 7033), requests for admissions
                 pursuant to Rule 36 (BR 7036) and other requests for written discovery
                 starting two weeks after a ruling on the Motions to Dismiss.
          ii.    The parties may serve on non-parties subpoenas for documents pursuant to
                 Rule 45 (BR 9016) starting two weeks after a ruling on the Motions to
                 Dismiss.
          iii.   The parties shall serve all document requests on or before 150 days after a
                 ruling on the Motions to Dismiss, and shall substantially complete their
                 production of documents on or before 180 days after a ruling on the
                 Motions to Dismiss (it being understood that Parties will produce
                 responsive materials on a rolling basis in advance of such date).
          iv.    The parties shall provide logs of documents withheld or redacted on
                 privilege grounds on or before 180 days after a ruling on the Motions to
                 Dismiss.
          v.     Deposition notices shall be served no less than 14 days prior to the
                 deposition date. Plaintiffs and Defendants shall each be entitled to take a
                 total of 10 depositions of fact witnesses.
          vi.    Fact discovery shall be completed within 180 days after a ruling on the
                 Motions to Dismiss.


    c.    Expert Discovery.
          i.     Plaintiffs’ initial expert reports shall be served within 210 days after a
                 ruling on the Motions to Dismiss.
          ii.    Defendants’ expert reports—including rebuttal reports in response to
                 Plaintiffs’ initial expert reports and expert reports on a subject not
                 addressed in Plaintiffs’ initial expert reports—shall be served within 240
                 days after a ruling on the Motions to Dismiss.
          iii.   In the event that Defendants’ experts reports address a subject not
                 addressed in Plaintiffs’ initial expert reports, Plaintiffs may serve a
                 rebuttal expert report in response thereto within 270 days after a ruling on
                 the Motions to Dismiss.
          iv.    All expert reports must satisfy the requirements of Federal Rule of Civil
                 Procedure 26 (BR 7026).
          v.     Expert depositions shall be completed within 300 days after a ruling on the
                 Motions to Dismiss.


    d.    Summary Judgment Motions.
          i.     Motions for summary judgment shall be due within 360 days of a ruling
                 on the Motions to Dismiss.
          ii.    Oppositions to motions for summary judgment shall be due within 390
                 days of a ruling on the Motions to Dismiss.
          iii.   Replies in support of summary judgment shall be due within 420 days of a
                 ruling on the Motions to Dismiss.


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5.       Any motion to amend or to join additional parties shall be filed no later than 300 days
after a ruling on the Motions to Dismiss.


6.     In the event the Court appoints a Chapter 7 or Chapter 11 Trustee over one or both of the
Debtors, the dates in this Schedule shall be suspended and the parties will confer with the Trustee
and submit a revised schedule within 90 days of the Trustee’s appointment.


7.      Treatment of Electronically Stored Information. The parties have discussed the existence
of electronically stored information (“ESI”) in this matter, and the parties shall:
   •   preserve ESI concerning any claims and defenses in the Complaint; and
   •   unless otherwise agreed to by the parties, produce all ESI in one of the following forms:
           •   native files,
           •   multi-page TIFFs (with a companion OCR or extracted text file), or
           •   single-page TIFFs (only with load files for e-discovery software that includes
               metadata fields identifying natural document breaks and also includes companion
               OCR and/or extracted text files).
   Unless otherwise agreed to by the parties, files that are not easily converted to image format,
such as spreadsheet, database and drawing files, should be produced in native format.
8.      General Deadline for Filing Response or Objection to Motion. Except as provided in
L.B.R. 9014-2 and subdivision (i), a response or objection to a motion shall be filed and served
on the movant, or if the movant is represented, counsel for the movant, no later than 14 days
after the date on which the movant serves the motion.


9.      Mediation. Plaintiffs and the Defendants shall confer regarding appointment of a
mediator, and on or before 420 days from a ruling on the Motions to Dismiss, shall file a
stipulation regarding appointment of mediator. If the parties fail to file such a stipulation by this
date, the parties shall request a status conference with the Court to resolve the dispute. The
parties shall meet and confer concerning procedures for the mediation. Unless otherwise agreed
by the parties, the mediation shall be governed by Local Rule 9019-5. Local Rule 9019-5(j) shall
not apply to the mediation in this matter.




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10.     Jurisdiction. Nothing in this Case Management Plan and Scheduling Order shall be
deemed a waiver of any Defendant’s rights under Local Rule 9013-1(f) or other jurisdictional
objections.


11.     Modification. The parties may modify any provision hereof on written agreement or,
absent such agreement, by seeking an order of the Court upon good cause shown.


12.    The proposed joint pretrial order shall be submitted on ECF in accordance with Federal
Rule of Civil Procedure 26(a)(3) (BR 7026) no later than ____________________.


13.     Trial. The trial of this matter shall begin on _____________.


14.     Counsel for the Parties:
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 The counsel listed below only represent the specific party(ies) identified beneath their signature blocks in these
proceedings. Several proposed defendants have yet to be served and have not made appearances in these cases. Any
such party will have counsel make an appearance as is necessary in the future.


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Dated: October ___, 2023                 ________________________________________
                                         Magdeline D. Coleman
                                         Chief United States Bankruptcy Judge




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